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AO 91 (Rev. 11/11) Criminal Complaint


                                     UNITED STATES DISTRICT COURT
                                                                  for the
                                                      Central District
                                                   __________  DistrictofofIllinois
                                                                            __________

                  United States of America                           )
                             v.                                      )
                                                                     )      Case No.
                                                                     )                 24-MJ- 7037
                                                                     )
                   MARTINEZ BRADLEY                                  )
                                                                     )
                          Defendant(s)


                                                  CRIMINAL COMPLAINT
         I, the complainant in this case, state that the following is true to the best of my knowledge and belief.
On or about the date(s) of                 March 2022 - Current             in the county of            Champaign              in the
      Central          District of              Illinois        , the defendant(s) violated:

            Code Section                                                       Offense Description
21 U.S.C. § 841(a)(1)                            Unlawful Distribution of Controlled Substances
21 U.S.C. § 846                                  Attempt or Conspiracy to Unlawfully Distribute Controlled Substances




         This criminal complaint is based on these facts:
See affidavit of Special Agent Matthew T. Nolan, DEA, which is attached hereto and incorporated by reference.




         ✔ Continued on the attached sheet.
         u

                                                                              MATTHEW NOLAN Digitally signed by MATTHEW NOLAN
                                                                                            Date: 2024.03.15 10:24:16 -05'00'

                                                                                               Complainant’s signature

                                                                                     Special Agent Matthew T. Nolan, DEA
                                                                                                Printed name and title

Sworn to before me and signed in my presence.
                                                                                                          Digitally signed by Eric Long

Date:        3/18/2024                                                      Eric Long                     Date: 2024.03.18 15:00:16
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                                                                                                  Judge’s signature

City and state:                          Urbana, Illinois                         Eric I. Long, United States Magistrate Judge
                                                                                                Printed name and title
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                                           AFFIDAVIT


        I, Matthew T. Nolan, being first duly sworn, hereby depose and state as follows:

                       INTRODUCTION AND AGENT BACKGROUND

        1.      I make this affidavit in support of an application under Rule 41 of the Federal

Rules of Criminal Procedure for a warrant to arrest known members of the More Than A Movie

(MTAM) Enterprise as further identified and described by the probable cause as outlined below.

As explained herein, there is probable cause to believe that the MTAM Enterprise is a Drug

Trafficking Organization (DTO) and Violent Street Gang operating throughout the Continental

United States to include, Texas, Georgia, and Central Illinois to include the cities of Champaign,

Urbana, and Rantoul. The probable cause outlined below will support the arrest of KEJUAN

COLEMAN, CHASE SELLERS, MARTINEZ BRADLEY, DEQUAN FENDERSON, ERIC

COLE, DESHANTE INGRAM, and MICHAEL GIPSON (collectively, the “DEFENDANTS”)

who have committed, are committing, and will continue to commit Title 21 United States Code,

Section 841(a)(1), Unlawful Distribution of Controlled Substances, Title 21, United States Code,

Section 846, Attempt or Conspiracy to Unlawfully Distribute Controlled Substances.

       2.      I am a Special Agent with the Drug Enforcement Administration (DEA), and have

been since April of 2019. Prior to my employment with the DEA, I served in the State of

Minnesota as a Law Enforcement Officer from August 2011 through April of 2019 when I was

hired by DEA. I have participated in numerous investigations of unlawful drug distribution and

have conducted or participated in surveillances, the execution of search warrants, the recovery of

substantial quantities of narcotics, narcotics paraphernalia, drug proceeds, and the debriefings of

informants and cooperating witnesses. Through my training, education, and experience, I have
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become familiar with the manner in which illegal drugs are transported, stored, and distributed,

the possession and use of firearms in connection with trafficking of such drugs, and the methods

by which narcotics traffickers store and conceal the proceeds of their illegal activities.

       3.      I have successfully completed training sponsored by the Drug Enforcement

Administration dealing with search and seizure warrants, enforcement of state and federal drug

laws, and the identification of controlled substances. I have also received training in surveillance,

counter-surveillance, smuggling of drugs and laundering of drug proceeds.

        4.      I have acted as an affiant on multiple prior applications for the installation of the

mobile tracking devices and real time geo-location information in relation to drug trafficking

organizations and their members. I have acted as an affiant on prior applications for the

interception of wire and electronic communications. I have served as a monitor, a member of the

surveillance team, and have listened to intercepted phone calls between individuals identified as

suspected narcotics traffickers.

       5.      The facts in this affidavit come from my personal observations, my training and

experience, and information obtained from other agents and witnesses. This affidavit is intended

to show merely that there is sufficient probable cause for the requested warrant and does not set

forth all of my knowledge about this matter.

        6.      Based on my training, experience, and the facts as set forth in this affidavit, there

is probable cause to believe that Title 21 United States Code, Section 841(a)(1), Unlawful

Distribution of Controlled Substances, Title 21, United States Code, Section 846, Attempt or

Conspiracy to Unlawfully Distribute Controlled Substances., have been committed, are being

committed, and will continue to be committed by the DEFENDANTS.
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     THE MORE THAN A MOVIE (MTAM) ENTERPRISE, DRUG TRAFFICKING
     ORGANIZATION AND VIOLENT STREET GANG AND BACKGROUND OF
                          INVESTIGATION

       7.      The proposed criminal complaints and arrest warrants are sought as part of an

investigation into the MTAM Enterprise which is a Drug Trafficking Organization (DTO) and

Violent Street Gang.

       8.      Beginning in March 2022, the DEA Springfield Resident Office (SRO) Agents, in

conjunction with local law enforcement, began investigating Anthony FLYNN who was a retail

distributor of Oxycodone pills, other pharmaceuticals, and illicit narcotics in the Rantoul, Illinois

area. Agents received a Champaign County Crime Stoppers tip which reported FLYNN was

reported to be actively selling "Perk 30s" which are laced with Fentanyl in the Rantoul, Illinois

area. Since the initiation of the investigation, FLYNN was identified as a member of the MTAM

Enterprise Drug Trafficking Organization (DTO) and Violent Street Gang.

       9.      During the month of November 2022, FLYNN was arrested on State of Illinois

charges related to firearm and drug related offenses and has since been sentenced to the Illinois

Department of Corrections on his State of Illinois charges. Through interviews of confidential

sources, reviewing of local police reports, and reviewing State of Illinois search warrants,

investigators have learned multiple members of the MTAM Street Gang are involved with the

acquisition and sale of "Perk 30s", other pharmaceuticals, and other controlled substances.

Additionally, MTAM members have been involved or associated with multiple acts of violence

within the Champaign, Urbana, and Rantoul areas. Since FLYNN’s arrest and sentencing, agents

have learned that several of FLYNN’s associates in MTAM have filled his organizational role of

selling various illicit narcotics and pharmaceuticals, to include cocaine, fentanyl pills,

promethazine with codeine, alprazolam, as well as acquiring and selling firearms for MTAM.
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       10.     Subsequent to Flynn’s arrest, a State of Illinois Champaign County court

authorized search warrant was executed for Flynn’s cellular telephone. The subsequent search

and analysis of text, picture, call logs, social media, and other various stored data revealed Flynn

and multiple other members of the MTAM Enterprise Drug Trafficking Organization (DTO) and

Violent Street Gang, were actively involved in the acquisition and distribution of both illicit and

pharmaceutical narcotics, along with the acquisition and trafficking of more than 30 firearms.

Information from this search warrant suggested many of these firearms were trafficked from

Missouri to Illinois where they were possessed and utilized by the MTAM Enterprise Drug

Trafficking Organization (DTO) and Violent Street Gang.

       11.     During the month of April 2023, law enforcement cultivated a Rantoul PD

Confidential Source (CS) who has been deemed reliable and credible. The Rantoul CS is

providing information and cooperation to law enforcement for consideration on pending State of

Illinois theft and driving related offenses. Additionally, a review of The Rantoul CS’s criminal

history showed two felony convictions for theft, multiple misdemeanor convictions for deceptive

practice, driving offenses, and DUI. The Rantoul CS (hereafter referred to as “the CS”)

identified multiple members of the MTAM Enterprise Drug Trafficking Organization (DTO) and

Violent Street Gang, some of whom the CS could purchase controlled substances from. The CS

identified known MTAM Enterprise Drug Trafficking Organization (DTO) and Violent Street

Gang members as: Anthony Flynn, Trayon Parker, Kejuan Coleman, Dequan Fenderson, Chase

Sellers, Dequanta Wooten, Johnny Jones, Dontae Robinson, Jheremiah McKown, Martinez

Bradley, Malik Jones, Deshante Ingram, Eric Cole, and others.

       12.     During the months of May, June, and July 2023, Investigators utilized both the CS

and an Undercover Officer, hereafter referred to as UC-1, to complete multiple controlled
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purchases of both illicit narcotics and controlled pharmaceuticals from identified MTAM DTO

and Violent Street Gang member Trayon Parker.

       13.    During the month of June 2023, a review of financial information revealed

organization member Wooten was responsible for cash withdrawals exceeding $10,000 and

members Coleman and Sellers, along with an associate identified as Emiyah Brooks were

responsible for the movement of over $725,000 between February 2022 and March 2023 via

app-based platforms.

       14.    On July 13, 2023, investigators issued a Grand Jury Subpoena to Instagram

related to multiple MTAM Enterprise Drug Trafficking Organization (DTO) and Violent Street

Gang members accounts.

       15.    On July 17, 2023, a response from Instagram was received. The response

identified multiple MTAM Enterprise Drug Trafficking Organization (DTO) and Violent Street

Gang members accounts as follows:

 Instagram Username          Name                    Email Address             Registration Date
      1mtamwop            Wop Deshawn       dequanfenderson1220@icloud.com       11/12/2020
     mtam_5ive           ⾕✝ Ⓜ5ive                          N/A                     8/2/2020
 mtam_beastmoe500         Mtam Skezzy            parkertrayon@yahoo.com            8/6/2020
    mtam_chubss        ⾕✝      Ⓜ Chubbs           sellerschase4@gmail.com          5/5/2013
     mtam_jones               N/A                j.johnny1823@yahoo.com            6/8/2012
     mtam_liltae         The influence           dontaeboi928@gmail.com            6/23/2013
      mtam_nez              Mtam Nez          martinezbradley04@yahoo.com          11/1/2012
     mtam_slutty           Numba7teen          2018malikjones@gmail.com            6/16/2014
     mtam_tadoe                 N/A             taeingram22@gmail.com              5/10/2017
     mtammulla            PainReal                 ericcole24@icloud.com           3/6/2016
       on3kidd           MTAM_On3Kidd           kejuancoleman12@yahoo.com         12/26/2012


       16.    During the month of August 2023, DEA Agents in Illinois were contacted by

DEA Agents based in Fort Worth, Texas, and advised two couriers (hereafter referred to as CD-1
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and CD2) were arranging transport of approximately 10,000 M/30 pills from Rantoul, Illinois to

Fort Worth, TX. Further, the Agents in Fort Worth, TX provided information the source

arranging transportation of the pills was PARKER who was utilizing the same cellular telephone

number the UC had contacted PARKER at to complete the above-mentioned controlled

purchases. Ultimately CD-1 and CD2 completed the delivery of the approximately 10,000 M/30

pills to a DEA UC in Fort Worth, TX. The total combined weight of the suspected M/30s was

approximately 1,118.2 grams and tested positive for the presence of Fentanyl.

       17.     Agent’s/Investigators from the Springfield, IL DEA Office travelled to Fort

Worth, TX to interview CD-1 and CD2. Agent’s/Investigators spoke with CD-1 and CD2

independently and neither CD-1 or CD2 were allowed to speak with the other prior to speaking

with investigators. Additionally, both CD-1 and CD2 had their respective Defense Counsel

present with them while speaking with investigators. CD-1 and CD2 began providing

information to investigators subsequent to their arrest in hopes of receiving leniency and

consideration on pending federal drug charges related to this arrest. The information, as detailed

below, provided by CD-1 and CD2 was independently verified and corroborated by Investigators

through the analysis of court authorized vehicle tracker data, toll records analysis, and prior law

enforcement contacts with individuals/addresses. A review of CD-1’s criminal history showed

no prior arrests or convictions prior to CD-1’s arrest for this incident. A review of CD2’s

criminal history showed prior felony convictions for Aggravated DUI and Aggravated

Battery/Peace Officer.

       18.     CD-1 stated the events leading up to this interview began approximately one and

a half weeks prior when PARKER asked CD-1 if CD-1 would be interested in taking a trip to

Fort Worth, Texas. CD-1 further explained PARKER asked CD-1 what CD-1 would charge
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PARKER to make the trip but nothing pertaining to payment was discussed after this initial

inquiry. CD-1 stated CD-1 felt a loyalty to PARKER and agreed to make the trip to Texas for

him.

       19.     CD-1 stated PARKER paid for a new tire and an oil change for CD-1’s car and

also paid to have CD-1’s car detailed prior to the trip. CD-1 also stated PARKER bought two

used tires, at this time, for PARKER’s Cadillac. CD-1 also mentioned CD-1 drove PARKER’s

Cadillac around town on July 31, 2023.

       20.     CD-1 stated CD-1, driving PARKER’s Cadillac, followed PARKER, who was

driving CD-1’s vehicle, on July 31, 2023, to pick up 10,000 pills from a location in Rantoul,

Illinois. CD-1 said this took place between 8:30 pm – 11:00 pm. CD-1 stated CD-1 and

PARKER went to a house near Golfview Village where PARKER’s child’s mother lives with an

individual named “Wop”. The residence CD-1 described is known to investigators as being

located at 1432 Fairway Drive, Rantoul, Illinois. The individual known as “Wop” has previously

been identified by investigators as Dequan FENDERSON. CD-1 stated CD-1 was instructed, by

PARKER, to wait down the street from the house while PARKER went to the house to obtain the

pills. CD-1 stated PARKER went inside the house to get the pills. CD-1 mentioned one of

PARKER’s children lives at the residence they visited on July 31, 2023.

       21.     CD-1 stated PARKER provided an address via text of where to meet someone

who would take the pills on August 2, 2023.

       22.     CD-1 further provided information that CD-1 met an individual known as

“ONE3KIDD” through PARKER. “ON3KIDD” is the known alias of COLEMAN and has

previously been identified as the alias utilized by COLEMAN throughout this ongoing

investigation. CD-1 further stated COLEMAN lives in Rantoul, Illinois, and is a supplier of
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marijuana and pills. CD-1 also stated COLEMAN breeds canines for profit. CD-1 was shown

Google Maps and was able to identify the house where COLEMAN lives. CD-1 identified 1732

Gleason Drive, Rantoul, Illinois, as COLEMAN’s house.

       23.     Additionally, CD-1 had personally seen multiple members to have MTAM

tattooed on themselves.

       24.     CD2 stated that PARKER told CD2 that PARKER would compensate CD2 with

drugs and money if CD2 accompanied CD-1 to Fort Worth, Texas, to deliver pills for PARKER.

       25.     CD2 stated PARKER had been talking about the trip to Fort Worth, Texas, for

two or three days prior to their departure in order to “bait” CD2 into agreeing to participate.

       26.     CD2 stated his role during the trip was to be CD-1’s “co-pilot”. CD2 further

stated CD2 was told the pills were in the vehicle but did not see them himself. CD2 also said

PARKER told CD2 the pills were “Perc 30’s” and CD2 believed this to mean they were

legitimate Oxycodone pills. CD2 stated he and CD-1 were told to pick up $20,000 in exchange

for the pills in Fort Worth, Texas.

       27.     During the month of October 2023, Source of Information (hereafter referred to as

“the SOI”) with knowledge of this investigation contacted Agents/Investigators and related the

SOI had the ability to establish communication with COLEMAN. The SOI has previously been

deemed reliable and credible. The SOI has previously provided information to the DEA which

has led to the seizures of substantial quantities of narcotics and lead to the arrests of multiple

drug traffickers. The SOI is providing information to Investigators of their own free will and is

not receiving compensation or consideration on any pending charges at this time. A review of

the SOI’s criminal history showed one prior Federal Felony drug conviction. Additionally, the

SOI’s criminal history showed State of Arizona felony convictions for Assist Criminal
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Syndicate/Lead Gang and Threat-Intimidate-Gang, along with State of Arizona misdemeanors

for driving related offenses. The SOI further related the SOI was provided with the telephone

number of (773-706-8770) to contact COLEMAN.

       28.    Later during the month of October, an Undercover Agent, hereafter referred to as

UC-2, established contact with Kejuan COLEMAN via COLEMAN’s cellular telephone ending

in x8770, utilizing a covert, monitored and recorded phone line. The SOI had previously

provided the x8770 number to UC-2. Additionally, the SOI related to COLEMAN that an

individual (UC-2) would contact COLEMAN. During this communication UC-2 spoke with

COLEMAN about acquiring a sample of “Perk 30s”, suspected oxycodone. COLEMAN agreed

to meet UC-2 on a later date to provide the sample of “Perk 30s”.

       29.    Approximately one week later, UC-2 placed an outgoing call to COLEMAN.

During the call COLEMAN agreed to meet the UC-2 the following day at the Blain’s Farm &

Fleet in Urbana, located at 2701 N Cunningham Ave, Urbana, IL 61802, to provide the

previously agreed upon sample of “Perk 30s”.

       30.    The following day UC-2 sent a text to COLEMAN advising the UC would arrive

at the agreed upon meet location at about 1:00pm. COLEMAN responded affirmatively. Later

that day UC-2 was provided the sample of “Perk 30s” by COLEMAN’s associate and co-

conspirator, Martinez BRADLEY who was previously known to investigators as a known

MTAM member and associate of COLEMAN.

       31.    During the month of November 2023, UC-2 again contacted COLEMAN via the

x8770 number to purchase an additional quantity of “Perk 30s” along with Promethazine with

Codeine cough syrup referred to as “Drank”. This transaction was again delivered to UC-2 by

BRADLEY who was driven to this transaction by Michael GIPSON operating a silver Chevrolet
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Malibu bearing Illinois registration DU61074. A check through the Illinois Department of

Transportation showed the vehicle is registered to Michael GIPSON to 1302 Christopher Circle

Apt. 4, Urbana, Illinois 61802. GIPSON has previously been identified during this investigation

and is a known member of MTAM. GIPSON was later identified as the driver of the vehicle

when Investigators showed UC-2 a law enforcement image of Michael GIPSON with identifiers

hidden. UC2 positively identified GIPSON as the male driver.

       32.     During the month of December 2023, UC-2 again contacted COLEMAN via the

x8770 number to purchase an additional quantity of “Perk 30s” along with Promethazine with

Codeine cough syrup referred to as “Drank”. Ultimately UC-2, through communications with

COLEMAN, again completed the controlled purchase which was delivered to UC-2 by

BRADLEY. During this controlled purchase UC-2 observed BRADLEY exit from and return to

a Porsche vehicle bearing Illinois registration EJ33146. A check through the Illinois Department

of Transportation showed the vehicle is registered to Johnny JONES at 1670 Harper Dr, Rantoul,

Illinois 61866. JONES has previously been identified in this investigation as a known MTAM

member and associate of COLEMAN, BRADLEY, and multiple other MTAM members.

Additionally, during this controlled purchase, UC-2 observed COLEMAN to be the driver of the

Porsche.

       33.     On January 30, 2024, The Honorable Colin S. Bruce, United States District Judge

for the Central District of Illinois, signed an order authorizing the interception of wire

communications occurring over cellular telephone number (773) 706-8770, utilized by

COLEMAN.

       34.     Since the initiation of the court authorized interception of wire communications

occurring over COLEMAN’s phone, numerous communications have been intercepted which
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show the Title 21 United States Code, Section 841(a)(1), Unlawful Distribution of Controlled

Substances, Title 21, United States Code, Section 846, Attempt or Conspiracy to Unlawfully

Distribute Controlled Substances, have been committed, are being committed, and will continue

to be committed by the DEFENDANTS. As detailed further below, the DEFENDANTS are

committing these offenses including concealing narcotics, proceeds, documents, firearms and

other items related to the continued operations of the MTAM Enterprise Drug Trafficking

Organization (DTO) and Violent Street Gang.

                           KEJUAN COLEMAN (AKA “ONEKIDD”)

       35.       During investigators above mentioned interview with CD-1, CD-1 identified

COLEMAN as a source of marijuana and pills. CD-1 further identified 1732 Gleason Dr as

COLEMAN’s residence via a Google Maps.

       36.       Additionally, on August 14, 2023, your affiant conducted surveillance of 1732

Gleason Dr. During this surveillance you affiant observed COLEMAN standing in the driveway

of 1732 Gleason Drive, Rantoul IL 61866. COLEMAN was observed to be standing next to a

Dodge Charger Hellcat bearing Illinois registration S1526763. Both this vehicle and residence

had previously been associated to COLEMAN by investigators through local police reports.

       37.       On January 31, 2024, at approximately 7:24 pm, an outgoing call from

COLEMAN’s phone was intercepted to (217) 550-7273 a number subscribed to and utilized by

Chase Sellers. The following is an excerpt of the conversation:

             x   SELLERS: [PAUSE] [U/I]. No, but [AUDIO GLITCH] WOP [U/I] didn't bring

                 me the pills.

             x   COLEMAN: [U/I] in the house for. You don't even know they in there.

             x   SELLERS: No.
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             x   COLEMAN: He left them in there, bro. [AUDIO GLITCH] [U/I].

             x   SELLERS: They at his house?

             x   COLEMAN: In your house.

             x   SELLERS: Oh.

             x   COLEMAN: [PAUSE] [U/I] what's-his-name Friday, and he supposed to [U/I].

             x   SELLERS: You said he finna have the, uh, drink tomorrow, [U/I]?

             x   COLEMAN: Shit, yeah.

             x   SELLERS: Yeah.

             x   COLEMAN: A'ight, yeah. [U/I].

During this conversation Agents believe Sellers is acquiring quantities of Percocet or counterfeit

Percocet pills along with promethazine with codeine to distribute on behalf of Coleman and the

organization.

       38.       On February 1, 2024, at approximately 3:22pm, an outgoing call from the

COLEMAN’S phone was intercepted to (217) 402-6394 a number utilized by Martinez Bradley.

The following is an excerpt of the conversation:

             x   COLEMAN: Send that to CHASE. Cash App that to CHASE. That money that

                 just got sent to you from TRAY.

             x   BRADLEY: Uh, that 125?

             x   COLEMAN: Yeah.

             x   BRADLEY: I been sent that.

             x   Intercepted communication on this call also revealed COLEMAN said TRAY

                 found out BRADLEY and others were at the store and posted on Facebook that he

                 was going to find his own way. COLEMAN and BRADLEY talk about TRAY's
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               Facebook post.

               BRADLEY talks about a third party getting into it with TRAY about exchanging

               $100 for airpods.

     39.       Later during the call at approximately 15:24:10

           x   BRADLEY: So he just called last night, so WOP was like, uh, "Ask NEZ where

               the 10 mils at." Uh, "I need it so I can, uh, I'm finna trade it for 2 more [U/I]." I'm

               like "Damn, niggas tryna..."

           x   COLEMAN: [VOICES OVERLAP] "[U/I] shit, I ain't even got no guns." I'm like

               "Shit, it's cool though."

           x   BRADLEY: [VOICES OVERLAP] [U/I].

           x   COLEMAN: [VOICES OVERLAP] [U/I] guns. [U/I].

           x   BRADLEY: [VOICES OVERLAP] I know you do. I know you do. I know you

               do. [U/I]. I'm like "I don't need--." I'm like "Shit, I-, I really wanted the 10 mil."

               I'm like "Shit, but I don't need it."

           x   COLEMAN: [VOICES OVERLAP] [U/I].

           x   BRADLEY: I'm [U/I] need that motherfucking 10 mil. I'm like "Shit, I can go get

               a gun from brother and them, and I'll find me a new 10 mil." He like-, uh... He

               said something. He said something where I'm like "Shit, I ain't fucked up about

               nothing. Shit, I been gone for a week-, a week or two and I profited a 10." That's

               probably why he just posted that on Facebook.

           x   COLEMAN: Yeah. On bro, he like [U/I].

           x   BRADLEY: I said "I been gone-, I been gone for a week or two, and on my dead

               sister, I got close to a 10 at the crib in drugs."
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       During this intercepted call Agents believe Coleman and Bradley first discuss a quantity

of money that Trayon Parker had sent to Bradley via an app-based platform. Further, Coleman

and Bradley discuss Parker learning other members recently were resupplied with various drugs

(referenced as “going to the store”) and that Parker was possibly going to look for a different

source of supply since he was not included in the re-supply. Later in this conversation, Coleman

and Bradley discuss an unknown party wanting to move a “10 mil” to trade for two more, known

to agents to be a ten-millimeter firearm in exchange two additional firearms. The conversation

concludes with Bradley explaining to Coleman that he has a large amount of drugs in his

residence.


       40.       On February 2, 2024, at approximately 12:24pm, an outgoing call from

COLEMAN’S phone was intercepted to (217) 904-0314 a number utilized by Deshante Ingram.

The following is an excerpt of the conversation:

             x   INGRAM: I said I ain't been selling the percs for real.

             x   COLEMAN: You said you got cash on you?

             x   INGRAM: Yeah. I got [U/I] cash on me.

             x   COLEMAN: How much?

             x   INGRAM: Uh... Shit, like, 100, 150, some shit.

             x   COLEMAN: Can you just send that deuce real quick?

             x   INGRAM: I ain't gon' make a deuce off the fake shit.

             x   COLEMAN: You didn't?

             x   INGRAM: Nah.

             x   COLEMAN: Bet. Send me 100 then. You said you sold, 25 [PH] of 'em? [U/I] a

                 decue, but... [U/I].
Case 3:24-mj-07067-MAB
        2:24-mj-07037-EIL Document
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        x   INGRAM: [VOICES OVERLAP] I sold 'bout, like, 25. I ain't been counting.

        x   COLEMAN: A'right, bet. Shit [U/I].

        x   INGRAM: [VOICES OVERLAP] [U/I].

        x   COLEMAN: I gotta get them bitches back.

        x   INGRAM: They sure ain't fucking with 'em.

        x   COLEMAN: [VOICES OVERLAP] I gotta have-, I gotta have [U/I].

        x   INGRAM: They sure ain't fuck with these bitches, for real.

        x   COLEMAN: And I just tell 'em, them bitches hitting all day. [U/I] shit. I said I

            ain't get no complaints from people I talk [PH] to.

        x   INGRAM: Yeah. [U/I] little bit complaining now.

        x   COLEMAN: [U/I].

        x   INGRAM: Shit, they, uh... They ain't like 'em. They like the other ones and shit.

            [U/I].

        x   COLEMAN: [VOICES OVERLAP] Shit, 'cause I only had a f-... It's only a few

            of these, shit. [U/I] these the last of [U/I] shit. And that's [U/I].

        x   INGRAM: I ain't finna tell nobody, [U/I] they don't want it though.

        x   COLEMAN: Bet. [U/I] what's-his-name, and then give it back.

        x   INGRAM: [VOICES OVERLAP] I'm finna, uh, [U/I].

        x   COLEMAN: I can sell my own shit. I can sell my own shit. I don't need it. [U/I]

            come buy that shit [U/I].

        x   INGRAM: It ain't-, it ain't like that. Just, shit...

        x   COLEMAN: [VOICES OVERLAP] [U/I] Nah, I'm just saying, nigga, you can't

            sell shit, I can sell this shit right now. I can get cash right now for this shit.
Case 3:24-mj-07067-MAB
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During this intercepted call Agents believe Coleman and Ingram are discussing Ingram

distributing counterfeit Percocet pills and possible customer complaints about the strength of the

pills. This call further shows Coleman is the source of these pills which are then distributed by

Ingram and other members of the organization.

       41.       On February 8, 2024, at approximately 8:34pm and 8:44pm, outgoing calls from

COLEMAN’S phone were intercepted to (847) 344-2635 a number utilized by a yet to be

identified male. The following are excerpts of the conversations:

       COLEMAN: What I was finna say. Yeah, it said 'cause sh-- It say 'cause she got

       motherfucking hold on it, we can't pick it up.

             x   UM: So what she gotta do?

             x   COLEMAN: She gotta just pop out there.

             x   UM: She gotta pop out down there?!

             x   COLEMAN: On bro'.

             x   UM: Where that... How far that is?

             x   COLEMAN: Tell... Shit, see how far it is.

             x   UM: [U/I] damn!

             x   COLEMAN: [U/I] getting ready to do it. [U/I].

             x   UM: I'm finna see right now. [Pause]

             x   COLEMAN: I'm sho' [U/I] that shit goofy as hell.

             x   UM: [Voices Overlap] [U/I] [Pause] Champaign. That shit 2 hours away! Damn!

                 Let me see.

             x   COLEMAN: Shit, they say they down there, though.

             x   COLEMAN: [Voices Overlap] Yeah, [U/I] [Background: Loud Voices] a
Case 3:24-mj-07067-MAB
        2:24-mj-07037-EIL Document
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                 motherfucker got shot and shit.

             x   UM: Oh, they must've... So they found yercs [PH] or something?

             x   COLEMAN: That's what I'm saying. They couldn't have. They wouldn't a did

                 that.

             x   UM: This shit crazy. Damn, shit... I got see what the fuck going on. I'mma call

             x   they ass tomorrow, see what's to that shit.

             x   COLEMAN: [U/I].

             x   UM: What dude and them say about the K-56's [Hydrocodone pill]?

             x   COLEMAN: He said huh?

             x   UM: What dude and them say about them K-56's?

             x   COLEMAN: Shit, we can get those too. I'mma have him send 'em out in the

                 morning.

             x   UM: Alright, bet.

       During these intercepted calls Agents believe Coleman and the UM are discussing a

package that has a hold on it and further discuss a female driving to Champaign, IL to attempt to

retrieve the package. Further, in the subsequent conversation the UM asks Coleman about

prescription Hydrocodone pills (K-56) and Coleman tells the UM that they can send them out the

following day.


       42.       The above calls confirm that Coleman is directing the movements of various

controlled substances by multiple members of the organization. Further the intercepted

communications show the organization not only possess firearms, but that they are moved, sold,

or traded, for possible use during the course of drug trafficking activities despite multiple

members of the organization being prohibited persons.
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       43.       On February 15, 2024, wire communications between KEJUAN COLEMAN and

a number utilized by Chase SELLERS were intercepted where Coleman arranged for Sellers to

distribute promethazine with codeine to an unknown female. The following is an excerpt of the

conversation:

             x   COLEMAN: Shit, you got a pint ready? She had missed you.

             x   SELLERS: Yeah, you know [U/I] [Coughs].

             x   COLEMAN: You didn't do shit with that shit, bro?

             x   SELLERS: Huh?

             x   COLEMAN: You didn't do shit with that shit, bro? I need that shit tonight.

             x   SELLERS: Shit, she ain't coming back 'til tomorrow.

             x   COLEMAN: [U/I] that shit, gang.

             x   SELLERS: I can't make her ass come back. Shit.

             x   COLEMAN: [U/I] what the fuck I'm gon' do with that shit tomorrow? You sound

                 dumb as

             x   hell.

             x   SELLERS: Shit, I can't make her drive 6 hours to come back for this shit.

             x   COLEMAN: A'right. Bye, bro.

             x   SELLERS: Huh?

             x   COLEMAN: Bye, bro.

       44.       During this investigation, agents had identified Sellers as a distributor of multiple

controlled substances for Coleman. Additionally, Sellers was identified as an individual closely

trusted by Coleman to store and transport large amounts of United States Currency in furtherance

of the organization’s activities.
Case 3:24-mj-07067-MAB
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         45.   On February 14, 2024, Investigators monitored an intercepted communication

between COLEMAN and SELLERS. During this communication the following exchange took

place:

               x      COLEMAN: Where you at?

               x      SELLERS: Just got to your crib, brody. Where you at?

               x      COLEMAN: You at my house?

               x      SELLERS: Yeah. Huh?

               x      COLEMAN: Who you with?

               x      SELLERS: NEZ.

               x      COLEMAN: Come to my house.

               x      SELLERS: I'm at your house.

               x      COLEMAN: At Pop's, I meant.

               x      SELLERS: Huh?

               x      COLEMAN: Come to my Pop's house.

               x      SELLERS: Come to your Pop's house?

               x      COLEMAN: Yeah.

               x      SELLERS: Okay.


         46.   On February 17, 2024, intercepted communications from COLEMAN’s phone

revealed another conversation between COLEMAN and the cellular phone known to be utilized

by SELLERS. During the conversation, COLEMAN asks if SELLERS has a pint ready.

SELLERS says yes. COLEMAN asks if SELLERS had done anything with it. COLEMAN says

he needs it tonight. SELLERS says “she” is not coming back until the next day. COLEMAN asks
Case 3:24-mj-07067-MAB
        2:24-mj-07037-EIL Document
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what he is supposed to do with that stuff the next day. SELLERS says he cannot make “her”

drive 6 hours to come back for that stuff.

       47.     On February 18, 2024, intercepted communications from COLEMAN and

SELLERS revealed that COLEMAN inquired of SELLERS where his paper is at. SELLERS

indicated he did not have it and COLEMAN told SELLERS to ask people where it is located.

SELLERS informs COLEMAN that one person said they have it. COLEMAN says WOP

(Fenderson) has to have it. SELLERS asks if they have the oval or circular “addies”.

COLEMAN says they have the circular. COLEMAN asks if SELLERS has that hit and

SELLERS says yes. SELLERS asks if COLEMAN figured out the gas and COLEMAN says yes.

Parties talk about KEYNO [Kentrell Mcfarland] making a hit, known by investigators to be a

slang term referencing a drug sale, to MIGO by himself. COLEMAN says he had “him” sell a

“nick” yesterday and COLEMAN and SELLERS continue to talk about “addy” price points.

SELLERS says “dude” says they [dude] have someone grabbing 5,000 of “them” Wednesday.

SELLERS says he is going to Houston the next day at 7:50. SELLERS says “he” is going to send

“them” to him in 2 days. SELLERS indicated to COLEMAN that he will fly back in 2 days.

COLEMAN asked if SELLERS will need a 10 Wednesday. SELLERS said he will need it as

long as the hit comes through. SELLERS says he will need the extra 3 bucks right now and

SELLERS and COLEMAN agree to tell “him” 25. SELLERS said that it is 250 a pill.

       48.     COLEMAN and SELLERS continue their conversation by talking about the oval

ones (Addies) being good quality. COLEMAN says he has chalky ones and SELLERS says he

needs all the count up front and has no time for fronts. COLEMAN says “they” owe him still and

SELLERS says he had them Apple Pay Coleman. COLEMAN says no, SELLERS did not.

SELLERS says “he” says Wednesday and that “he” will sell 5,000 and buy another 10,000.
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        2:24-mj-07037-EIL Document
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SELLERS says “he” supplies a boy in Chicago and he charges the boy $6 a pill, who in turn sells

them for $8 a pill. SELLERS and COLEMAN talk about “him” turning a brick into a one and a

half. COLEMAN tells SELLERS that SKEEZY [Parker] has the yercs. SELLERS says KEVO

said he would fly to Houston to get bro’s weed.

       49.       On February 19, 2024, at approximately 12:39pm, an outgoing call from

COLEMAN’S phone was intercepted to (217) 402-6394 a number utilized by Martinez Bradley.

The following is an excerpt of the conversation:

             x   BRADLEY: You got, uh, it's 200 of them blue things left?

             x   COLEMAN: Come on, bro. You know that, bro.

             x   BRADLEY: Huh?

             x   COLEMAN: You know that, bro.

             x   BRADLEY: A'right. I'm waiting on white boy to text me back. He finna text me

                 what time he wanna meet.

             x   COLEMAN: You said 200?

             x   BRADLEY: Yeah. I'mma buy 100 and he gon' buy 100.

             x   COLEMAN: What?

             x   BRADLEY: I said I'mma buy 100 and he gon' buy 100. [Background: UF: Why

                 the fuck is this bitch (U/I) talking about?! Fuck you talkin' 'bout?!] Yeah, I'm

                 waiting on him and shit. As soon as he text me, shit, I'mma come out there and

                 get him. Soon as he text me what time he leaving, shit. I'm--

             x   COLEMAN: [Voices Overlap] I'm in Urbana, gang.

             x   BRADLEY: Huh? [Background: UF: Bitch, what?! Girl you know I can beat your

                 ass (U/I).] Fuck. What you say, brody?
Case 3:24-mj-07067-MAB
        2:24-mj-07037-EIL Document
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        x   COLEMAN: I'm in Urbana, gang.

        x   BRADLEY: You in Urbana?

        x   COLEMAN: Yeah.

        x   BRADLEY: You ain't got the money, do you?

        x   COLEMAN: Nah. But I'm in Urbana, gang.

        x   BRADLEY: A'right, bet.

        x   COLEMAN: [Voices Overlap] [U/I] gang. [U/I] me, gang. What the fuck are you

            talkin' 'bout?

        x   BRADLEY: Huh?

        x   COLEMAN: You gotta get up with me, gang.

        x   BRADLEY: Oh, I'll get up with you.

        x   COLEMAN: [Voices Overlap] [U/I] shit.

        x   BRADLEY: [Chuckles] [U/I] ain't got your shit.

        x   COLEMAN: [U/I].

        x   BRADLEY: Bro. A'right, bet. I'mma get up with you. I'm waiting on-, I'm

            literally waiting on him to text back. His bitch ass still ain't text back. He say he

            gotta go out of town. [Background: UF: The bitch-- This bitch (U/I)!] [Aside:

            Shhh! Calm down!][Background: Oh my God!] He gotta go out of town to get the

            money or something. He's still like two hours away.

        x   COLEMAN: A'right.

        x   BRADLEY: And he was calling me and making sure that he can get a decent

            price [U/I].

        x   COLEMAN: A'ight, bet.
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             x   BRADLEY: Huh?

             x   COLEMAN: I said a'ight, bet.

             x   BRADLEY: I got- It's for sure though, gang. It's for sure, for sure.

             x   COLEMAN: A'ight.

             x   BRADLEY: A'ight. I'mma call you.

       50.       During this conversation, Agents believe Bradley and an unknown third party are

acquiring quantities of Percocet or counterfeit Percocet pills to distribute on behalf of Coleman

and the organization.

       51.       On February 20, 2024, intercepted communications on COLEMAN’S phone

revealed another conversation between COLEMAN and SELLERS. COLEMAN asks if

SELLERS cut “them” up and gave them 2 zips and SELLERS responds in the affirmative.

SELLERS says he gave “NEZ and them” a whole 4. SELLERS says that was 2 bucks and that a

brick looked like real coke. COLEMAN asked how SELLERS wrapped the [brick] back up and

SELLERS responds by stating he vacuum sealed it. SELLERS indicates that BRADLEY’s stuff

would come back as Fentanyl. COLEMAN and SELLERS talk about BRADLEY catching a

controlled substance case for his 90 pills and talk about which pills had Fentanyl.

       52.       On February 22, 2024, at approximately 1:50pm, an outgoing call from

COLEMAN’s phone was intercepted to (217) 904-0314 a number utilized by Deshante Ingram.

The following is an excerpt of the conversation:

             x   INGRAM: Sitting at Home Depot waiting on a hit or something.

             x   COLEMAN: Who you with?

             x   INGRAM: I'm DOLO [PH].

             x   COLEMAN: You just sitting out there?
Case 3:24-mj-07067-MAB
        2:24-mj-07037-EIL Document
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             x   INGRAM: Hell yeah. I'm waiting on a hit. This why I be out of town, shit.

             x   COLEMAN: Shit, we finna go to the mall, meet us in the mall.

             x   INGRAM: Bet. Bet. [U/I] slide up there.

             x   COLEMAN: Bet.

       During this intercepted call Agents believe Coleman and Ingram speak about Ingram

being at a Home Depot store. Ingram relates to Coleman that he (Ingram) is waiting on a “hit”.

This term in known by investigators to be a street term used to reflect a drug sale. Coleman

instructs Ingram after the sale is completed that Ingram is to meet Coleman over at the mall.

       53.       On February 23, 2024, at approximately 6:03pm, an incoming call to

COLEMAN’s phone was intercepted from (773) 937-7701 a number utilized by Rakeem Capers

and subscribed to the user of “RMC”. The following is an excerpt of the conversation:

             x   CAPERS: Man, ain't no way this nigga tryna say a nigga [U/I]...

             x   COLEMAN: That nigga a goofy, bro'!

             x   CAPERS: [Voices Overlap] Bro', hell no! "Don't put that on KEEM name!"

             x   COLEMAN: Hell, yeah!

             x   CAPERS: Or on your name, either!

             x   COLEMAN: My name either, bro'.

             x   CAPERS: What the fuck! "Nobody finessed you out of no little ass... No, bro'! I

                 don't even know what that weed... That's some dirt! We don't even know where

                 that shit came from!"

             x   COLEMAN: [Voices Overlap] [U/I] That some shit I gave [U/I] for them

                 percocets when we try to finesse each other, talking about I owe him 3 bucks. I

                 gave his ass 3 or 4 P's of that shit.
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             x   CAPERS: Oh! You did... You gave him some? Oh, okay! You gave [U/I] some

                 lows for the percs!

             x   COLEMAN: Yeah, we gave him like--you know what I'm saying--I owe him 25...

                 2,000 of some percs. I gave his ass 4 P's of the bullshit 'cause he try to play me.

       During this intercepted call Agents believe Coleman and Capers are discussing Coleman

needing to distribute 2,000 counterfeit Percocet pills to a third party. Additionally, Coleman and

Capers discus that Coleman had supplied an additional amount of an unknown substance, “I gave

his ass 3 or 4 P's of that shit”, on a prior date. This call further shows Coleman and Capers work

together to conspire and distribute pills and other substances in furtherance of the organization.

       54.       On February 25, 2024, at approximately 10:26pm, outgoing calls from

COLEMAN’s phone was intercepted to (217) 693-9617 a number utilized by Johnny Jones. The

following are excerpts of the conversation:

             x   JONES: Nah, I'm talkin' 'bout, shit, I'm tryna catch a couple dollars, gang. I ain't

                 gon' lie.

             x   COLEMAN: You tryna catch some do-- Where NEZ at?

             x   JONES: I don't know where his bitch ass at. I called him this morning before I

                 came out here.

             x   COLEMAN: He don't be answering, do he?

             x   JONES: Nah. He know got the, he got that duty[PH].

             x   COLEMAN: [Laughs] On bro. [U/I] What's to him, gang.

             x   JONES: I don't know. That's a ho-ass nigga.

             x   COLEMAN: On my brother, he been [U/I] like he scared about shit, and all that.

             x   JONES: You hear me, though? [PH]
Case 3:24-mj-07067-MAB
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             x   COLEMAN: [Laughs]

             x   JONES: [U/I] appreciate what you do for him.

             x   COLEMAN: [Voices Overlap] I'm finna, I'm finna [U/I].

             x   JONES: I'm like damn...

             x   COLEMAN: [Voices Overlap] I'm finna text his ass.

             x   JONES: I told him, I'm 'bout tell him, shit, "Me and KENTRELL got you a head

                 start!"

             x   COLEMAN: On bro! [U/I] see you.

             x   JONES: But shit, I'm gonna pull up no later than, like, 11:00. I got somebody

                 coming over here right now.

             x   COLEMAN: Bet. I'm finna call [Audio Glitch] this nigga crazy.

             x   JONES: See if he answer.

             x   COLEMAN: Huh? He ain't-, he ain't answer my shit.

             x   JONES: Man, he got caught with 14 [PH] in that bitch.

             x   COLEMAN: That nigga caught [U/I] [Audio Glitch].

             x   JONES: Woooo!

             x   COLEMAN: His ass be done. He finna go lay down.

       55.       During these intercepted calls Agents believe Coleman and Jones are discussing

Martinez Bradley and a traffic stop which took place on February 20, during which Bradley was

found to be in possession of approximately 32.1 grams of white circular pills stamped RP 10/325

(suspected Acetaminophen and Oxycodone Hydrochloride).

       56.       The above calls confirm that Coleman continues to direct the acquisition,

distribution, and movements of various controlled substances by multiple members of the
Case 3:24-mj-07067-MAB
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organization.

       57.      Based on the intercepted communications in conjunction with the monitoring of

electronic surveillance it is apparent COLEMAN and the MTAM Enterprise, are engaging in

criminal conduct in furtherance of the SUBJECT OFFENSES previously mentioned.

                            CHASE SELLERS (AKA “CHUBBS”)

       58.      Throughout this investigation 801 Eastview Drive, Rantoul, IL 61866, has been

identified as the residence utilized by Chase SELLERS. In addition to the aforementioned

involvement between SELLERS and COLEMAN as previously referenced, the affiant states the

following regarding MTAM member SELLERS.

       59.      During this investigation fellow MTAM member Dontae ROBINSON was

arrested by local law enforcement subsequent to multiple controlled purchases of M/30 pills

containing fentanyl and a search warrant being executed at ROBINSON’s residence. Subsequent

to ROBINSON’s arrest and the execution of the search warrant, investigators located an Apple i-

Phone which was seized from ROBINSON’s person at the time of his arrest. On September 1,

2023 United States Magistrate Judge Eric I. Long issued a Federal Search Warrant, authorizing a

search of the device. A subsequent forensic examination of the device was conducted and

revealed numerous drug related conversation via text messages, to include conversation with

COLEMAN. The following is a sampling of text messages between ROBINSON and

COLEMAN from May 19, 2023:

                x      ROBINSON: Pulling up
                x      COLEMAN: I’m at chase house
                x      ROBINSON: U want me to get it there
                x      COLEMAN: Yeah
                x      ROBINSON: Send addy quick
                x      COLEMAN: 801 Eastview (The address of 801 Eastview Drive, Rantoul,
                       IL is known by investigators to be the residence of MTAM member Chase
                       SELLERS)
Case 3:24-mj-07067-MAB
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        60.    This text exchange seems to show that ROBINSON was acquiring an unknown

substance from COLEMAN who directed ROBINSON to SELLERS residence to acquire the

substance.

        61.    Additional reviews of text messages recovered from the device revealed text

messages directly between ROBINSON and SELLERS discussion of narcotics and firearms.

The following is a sampling of text messages between ROBINSON and SELLERS from May 24,

2022:

               x      ROBINSON: Give my yercs to Wop
               x      ROBINSON: On yo table

        62.    This text exchange seems to show ROBINSON advising SELLERS that

ROBINSON had left “yecs”, known to investigators to be counterfeit pharmaceutical pills

containing fentanyl, at SELLERS residence. ROBINSON further instructed SELLERS to give

the pills to “Wop”, identified throughout this investigation to be the alias of fellow MTAM

member Dequan FENDERSON.

        63.    The following is another sampling of text messages between ROBINSON and

SELLERS from July 4, 2022:

               x      ROBINSON: Lmk when back my pipe ova Thea
               x      SELLERS: Where it’s at I thought you grabbed it
               x      ROBINSON: Onna side by the church
               x      ROBINSON: Couch
               x      SELLERS: Ight

        64.    This text exchange between ROBINSON and SELLERS appears to show

ROBINSON advising SELLERS he left his “pipe” known by investigators to be a street term

used to reference a firearm, at SELLERS residence next to the couch. SELLERS confirms to

ROBINSON that SELLERS will let ROBINSON know when he returns to the residence.
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       65.     Additionally, through the monitoring of the court authorized interception of wire

communications occurring over the cellular telephone utilized by COLEMAN, in excess of 50

pertinent calls have been intercepted between COLEMAN and SELLERS.

       66.     During an intercepted communication from January 31, 2024, SELLERS and

COLEMAN discussed FENDERSON bringing a quantity pills to SELLERS residence. During

this communication the following exchange took place:

               x      SELLERS: I just woke up. That fucking green knocked me the fuck out,
                      bro.
               x      COLEMAN: [U/I] that ain't shit to [U/I], bro'.
               x      SELLERS: [Pause] [U/I] right here, right. No, but WOP [U/I] never bring
                      me the pills.
               x      COLEMAN: That shit [U/I] in the house, bro. You don't even know they
                      in there.
               x      SELLERS: No.
               x      COLEMAN: He left them in there, bro. [Audio Glitch] What are you
                      talking 'bout?
               x      SELLERS: They at his house?
               x      COLEMAN: In your house.
               x      SELLERS: Oh.

       67.     On Friday, March 8, 2024, SA Nolan placed a rouse call to telephone number to

(217) 778-8407. Through the review of law enforcement records and open-source databases this

telephone number was identified as belonging to Russel BRYAN. BRYAN is known by law

enforcement to be the grandfather of SELLERS.

       68.     Upon placing the call, a male voice answered the phone and identified themselves

as BRYAN. During the call SA Nolan stated a concerned citizen in the Village of Rantoul

reported not seeing activity at the residence and the Village was calling to check on the

residence. SA Nolan further inquired into ownership and occupancy of the residence. BRYAN

stated he owned the home and lived at the residence with his grandson.
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        2:24-mj-07037-EIL Document
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                          DEQUAN FENDERSON (AKA “WOP”)

       69.    Throughout this investigation 1432 Fairway Drive, Rantoul, IL 61866, has been

identified as the residence utilized by Dequan FENDERSON.

       70.    As previously documented above, during the month of August 2023, DEA Agents

in Illinois were contacted by DEA Agents based in Fort Worth, Texas and advised two couriers

(hereafter referred to as CD-1 and CD2) were arranging transport of approximately 10,000 M/30

pills from Illinois to Fort Worth, TX. The total combined weight of the suspected M/30s was

approximately 1,118.2 grams and tested positive for the presence of Phenethyl-a fentanyl analog.

       71.    During a subsequent interview with CD-1, CD-1 revealed the 10,000-pill delivery

was initially orchestrated by fellow MTAM member Trayon PARKER. CD-1 stated CD-1 and

PARKER went to a house near Golfview Village where PARKER’s child’s mother lives with an

individual named “Wop”. The residence CD-1 described is known to investigators as being

located at 1432 Fairway Drive, Rantoul, Illinois. The individual known as “Wop” has previously

been identified by investigators as Dequan FENDERSON.

       72.    Through the monitoring of the court authorized interception of wire

communications occurring over the cellular telephone utilized by COLEMAN, more than 20

pertinent calls have been intercepted between COLEMAN and FENDERSON.

       73.    A sampling of the intercepted communication which has taken place between

COLEMAN and FENDERSON is from the following exchange took place on January 30, 2024:

              x       COLEMAN: Yeah.
              x       FENDERSON: [Voices Overlap] Yo. Yeah?
              x       COLEMAN: Where you at?
              x       FENDERSON: Uh, finna go, uh, make this-- Ey, MULLA say can he get
                      a, uh... A-, a [U/I] pint?
              x       COLEMAN: Tell him yeah, I'll sell him a pint.
              x       FENDERSON: Huh?
Case 3:24-mj-07067-MAB
        2:24-mj-07037-EIL Document
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                                                                     44 ID #32




              x      COLEMAN: Tell him yeah, I got 'em. I'll sell him a pint [Background:
                     Clattering].
              x      FENDERSON: Okay.
              x      COLEMAN: [U/I].
              x      FENDERSON: [Voices Overlap] What you need me to do?
              x      COLEMAN: Huh?
              x      FENDERSON: I said you need me to do something?
              x      COLEMAN: N-, nah. You already slid on MU?
              x      FENDERSON: Yeah, I slid on MU. TADOE, TADOE and MU needed
                     one fifty (150).
              x      COLEMAN: One fifty (150)?
              x      FENDERSON: Huh?
              x      COLEMAN: One fifty (150)?
              x      FENDERSON: Yeah. Like, one fifty (150)... of percs.
              x      COLEMAN: Huh?
              x      FENDERSON: A hundred fifty (150) percs.
              x      COLEMAN: Oh, bring you a hundred fifty (150) percs?
              x      FENDERSON: Yeah.

              Through law enforcement investigations, “MULLA” is the known street name of

       Eric Cole and “TADOE” is the known street name of Deshante Ingram.

       74.    A sampling of the intercepted communication which has taken place between

COLEMAN and FENDERSON is from the following exchange took place on February 7, 2024:

              x      FENDERSON: Yeah. And how many-, how many packs I'm 'posed to take
                     today?
              x      COLEMAN: Uh... Packs. [U/I] 5 and, uh... Take 'em [PH].-, take 'em
                     more than 5, bro. 'Cause they--, they probably, like-, they probably, like--
                     Hmm. [Pause] [U/I] 5... Like, 14.
              x      FENDERSON: 14? 14?
              x      COLEMAN: [Coughs] Uh-huh.
              x      FENDERSON: A'right.
              x      COLEMAN: Take all them players [PH].
              x      FENDERSON: A'right. [U/I].

       75.    The following day on February 8, 2024 investigators intercepted additional

communication which has taken place between COLEMAN and FENDERSON during which the

following exchange took place:

              x      COLEMAN: What you on, [U/I]?
Case 3:24-mj-07067-MAB
        2:24-mj-07037-EIL Document
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               x      FENDERSON: Just touched.
               x      COLEMAN: Just touched, brody?
               x      FENDERSON: Yeah. BLAST [PH] house.
               x      COLEMAN: BLAST?
               x      FENDERSON: You know it.
               x      COLEMAN: [Laughs]
               x      FENDERSON: Just touched down in the A [Chuckles].

         76.   These intercepted communications and subsequent intercepted communications

revealed FENDERSON flew to Atlanta, Georgia with a suspected $14,000. In the subsequent

intercepted communications, it was revealed COLEMAN spoke with Kevin NUNLEY who

FENDERSON delivered the suspected $14,000 to.

         77.   On February 18, 2024, intercepted communications between COLEMAN and

BRADLEY referenced FENDERSON. During this communication, COLEMAN asked

BRADLEY why he left behind a firearm. BRADLEY indicated that WOP told him the gun went

with COLEMAN. COLEMAN chastises them for keeping the “pipes” with the bread.

BRADLEY tells COLEMAN that WOP and CHASE were the ones who went back to get

pounds. BRADLEY later says MIGO was served and then WOP gave him [BRADLEY] the

5600. BRADLEY asked COLEMAN if he got money from WOP for the percs. COLEMAN

stated WOP claimed to not have received the percs. BRADLEY says he gave WOP 400 from the

packs.

                                  ERIC COLE (AKA “MULLA”)

         78.   As previously documented above, throughout this investigation numerous

controlled purchases of both illicit and pharmaceutical narcotics have been completed from

Trayon PARKER. Additionally, the previously mentioned shipment of 10,000 fentanyl pills to

Fort Worth, TX was directed and controlled by PARKER.
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       79.     On February 1, 2024, communication was intercepted between COLEMAN and

COLE in which COLEMAN directed COLE to pick up money from PAKER during which the

following exchange took place:

               x       COLEMAN: A'right. Go get, uh, go get my money from TRAY too. Uh,
                       from the Brooks.
               x       COLE: Say that again?
               x       COLEMAN: Go get my money from TRAY from the Brooks.
               x       COLE: Okay. [U/I] get money from TRAY from the Brooks. Okay. Okay,
                       I got you, brody.

       80.     Investigators subsequently monitored electronic surveillance of Country Brook

Apartment Camera's and observed COLE arrive and park in front of unit 2592 West Springfield

Ave. A short time later, Investigators observed a black male in a black jacket, later confirmed to

be PARKER, approach the driver side window of COLE’s vehicle and begin speaking with

COLE. After speaking with him, Investigators observed COLE exit the Jeep at which time

COLE and PARKER walked up a set of steps and entered into unit 2592.

       81.     On February 14, 2024, investigators conducted additional electronic surveillance

of 2592 West Springfield Ave. During this surveillance numerous vehicles were observed

arriving, with the occupants going into the residence, staying for a short period of time, then

departing. Your affiant knows this activity to be indicative of drug sales. During this

surveillance members of the Illinois State Police conducted traffic stops on two of the vehicles

seen at the residence. The traffic stops were for State of Illinois violations. The first stop

resulted in the driver of the vehicle fleeing on foot. That individual was apprehended and

identified as Kentrell MCFARLAND. After MCFARLAND was taken into custody a small

clear plastic tied baggie containing a white powder (suspected cocaine), was located in the

vehicle where MCFARLAND had fled from. The second traffic stop resulted in the front seat

passenger attempting to exit the vehicle and flee. This male was also apprehended, taken into
Case 3:24-mj-07067-MAB
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custody, and identified as a juvenile male. A search of the juvenile male resulted in the

discovery of a handgun with no serial number, (often referred to as a ghost gun), as well as a

prescription bottle with no readable label. Inside the prescription bottle were 5 white circular

pills found to contain the imprint (RP 10/325). An additional single white circular pill found to

contain the imprint (RP 10/325) was located in the juvenile’s pant pocket. Additionally, inside

the prescription bottle was a single blue rectangular pill found to contain the imprint (B707). A

check through pill identifier showed the white circular pills represented Acetaminophen and

Oxycodone Hydrochloride 325mg/10mg and the blue rectangular pill represented Alprazolam

2mg. The suspected Oxycodone Hydrochloride pills are a schedule two controlled substance,

while the suspected Alprazolam pill is a schedule 4 controlled substance.

       82.     On January 31, 2024, intercepted communications from COLEMAN’S phone

revealed that COLE communicated to COLEMAN that he was at a FedEx facility overnighting a

package. COLE tells COLEMAN that he has been getting complaints about the percs “not

hitting”. COLEMAN instructs COLE to give him the percs back, but COLE stated he will not

give them back. COLEMAN accuses COLE of blaming him (COLEMAN) for finessing drug

prices, but COLE denies this. COLEMAN informs COLE that he (COLEMAN) can sell them

[percs] right now with FENDERSON. Through training and experience, the Affiant is aware that

“percs” is a term used for the controlled substance, Percocet.

       83.     On February 3, 2024, COLE shipped the aforementioned FedEx Package to

Homewood, Illinois. Based on the intercepted communication, law enforcement believed this

package contained fentanyl. This package was intercepted by law enforcement who obtained a

search warrant to seize and open the package on February 5, 2024. The parcel measured

approximately twelve inches by nine inches by eight and a half inches and weighed
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approximately three pounds, eight ounces. The package was paid for by using COLE’S credit

card. On March 6, 2024, the DEA lab out of the North Central Laboratory in Chicago, Illinois

indicated the weight of the pills found in the package weighed approximately 164 grams and

tested positive for N-Phenyl-N-[1-(2-phenylethyl)-4-piperidinyl]propanamide (Fentanyl)

       84.     Two days later, on February 5, 2024, intercepted communications on

COLEMAN’s phone revealed that COLEMAN instructed COLE to send another “300”.

       85.     On February 6, 2024, according to intercepted communications, COLE asked if

COLEMAN wanted him to give BLAST 300 of the 10s. COLEMAN stated he did want COLE

to do this with an additional possible sale to J3.

       86.     On February 20, 2024, COLE was pulled over by law enforcement and

KENTRELL MCFARLAND was driving. Intercepted communications revealed that

COLEMAN asked if COLE has anything on him. COLE said he did not, but told COLEMAN

that he had “yercs” that an unknown female put in her purse. COLE informed COLEMAN that

law enforcement took the Xans and a bottle of perc 10s, which likely contained 35 [pills].

COLEMAN asked if it was real script. COLE indicated it was not as it was mixed with fake and

real pills. COLEMAN tells COLE to get the “purple” shit from NEZ and bring it to him

[COLEMAN]. COLEMAN says he is going to get TRELL to drop a package off for him.

COLEMAN the asked COLE how many Yerks COLE has at his home and COLE responded that

he has nearly 500. Upon hearing this, COLEMAN told COLE to send 300 right now.

                            MARTINEZ BRADLEY (AKA “NEZ”)

       87.     During the month of August 2023, investigators with the Champaign County

Street Crimes Task Force (CCSCTF) completed a controlled purchase of approximately 10

suspected fentanyl pills, which were submitted to the Illinois State Police laboratory for testing

and ultimately showed the presence of fentanyl. During this controlled purchase investigators
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established surveillance in the vicinity of 1207 Mason Circle. While on surveillance a male

matching BRADLEY’s physical description exited the residence and entered a Nissan SUV. The

Nissan then travelled to the agreed upon meeting location where BRADLEY supplied a

(CCSCTF) confidential source with the quantity of fentanyl pills.

       88.    During the months of October, November, and December 2023, a DEA

Undercover Officer met three separate times with BRADLEY to acquire quantities of blue M/30

pills and promethazine with codeine. These meeting were arranged by the DEA UC via

telephone calls and text messages with COLEMAN, in which BRADLEY would ultimately

deliver the controlled substances. These controlled substances were then submitted to the DEA

North Central Laboratory for testing and analysis. To date investigators have received some lab

results which have shown the blue round M/30 pills tested positive for N-Phenyl-N-[1-(2-

phenylethyl)-4-piperidinyl] propanamide (Fentanyl) (calc. as Hydrochloride), a fentanyl

analogue.

       89.    Further, through the monitoring of the court authorized interception of wire

communications occurring over the cellular telephone utilized by COLEMAN, more than 25

pertinent calls have been intercepted between COLEMAN and BRADLEY.

       90.    A sampling of the intercepted communication which has taken place between

COLEMAN and BRADLEY is from the following exchange took place on February 1, 2024:

              x       COLEMAN: Send that to CHASE. Cash App that to CHASE. That money
                      I sent to you
              x       from TRAY.
              x       BRADLEY: Uh, that 125?
              x       COLEMAN: Yeah.
              x       BRADLEY: I been sent that.
              x       BRADLEY: So he just called last night, so WOP was like, uh, "Ask NEZ
                      where the 10 mils at." Uh, "I need it so I can, uh, I'm finna trade it for 2
                      more GUNS." I'm like "Damn, niggas tryna..."
Case 3:24-mj-07067-MAB
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               x      COLEMAN: [VOICES OVERLAP] "[U/I] shit, I ain't even got no guns."
                      I'm like "Shit, it's cool though."
               x      BRADLEY: [VOICES OVERLAP] on my sister, [U/I].
               x      COLEMAN: [VOICES OVERLAP] [U/I] guns. [U/I].
               x      BRADLEY: [VOICES OVERLAP] I know you do. I know you do. I
                      know you do. [U/I]. I'm like "I don't need--." I'm like "Shit, I-, I really
                      wanted the 10 mil." I'm like "Shit, but I don't need it."
               x      COLEMAN: [VOICES OVERLAP] [U/I] yeah.
               x      BRADLEY: I'm like, "I don't need that motherfucking 10 mil. I'm like
                      "Shit, I can go get a GUN from brother and them, and I'll find me a new
                      10 mil." He like-, uh... He said something. He said something where I'm
                      like "Shit, I ain't fucked up about nothing. Shit, I been gone for a week-,
               x      a week or two and I profited a 10." That's probably why he just posted that
                      on Facebook.
               x      COLEMAN: Yeah. On bro, he like [U/I].
               x      BRADLEY: I said "I been gone-, I been gone for a week or two, and on
                      my dead sister, I got close to a 10 at the crib in drugs."

       91.     On February 18, 2024, intercepted communications between BRADLEY AND

COLEMAN reveal that BRADLEY told COLEMAN that WOP (FENDERSON) said the gun

was to go with COLEMAN. BRADLEY says WOP put it in the black truck. COLEMAN

chastises them for putting the pipe with the bread because they could be robbed.

       92.     On February 19, 2024, intercepted communications between BRADLEY and

COLEMAN revealed that BRADLEY asked if COLEMAN has 200 “blue things” left.

COLEMAN affirms. BRADLEY inform COLEMAN that he is waiting on a white boy to text

him back with a meet time. BRADLEY says he will buy 100 and white boy will buy 100.

COLEMAN tells BRADLEY to get 4 of COLEMAN’s cases from FENDERSON and bring

them to the Dollar Store. Based on your affiants training and experience, BRADLEY is

attempting to acquire 200 “blue things”, known by investigators to commonly refer to M/30 pills

containing fentanyl. BRADLEY is then going to distribute 100 and retain the other 100 for

future sales. Additionally, during this communication COLEMAN instructs BRADLEY to bring

4 cases to the dollar store. Based on your affiants training, experience, and controlled purchases
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during this investigation it is believed COLEMAN was having BRADLEY acquire 4 cases of

Promethazine with Codeine from FENDERSON’s residence and bring them to an unknown third

party.

         93.   On February 20, 2024, at approximately 4:02 PM, the Illinois State Police (ISP)

conducted a traffic stop on a Toyota sedan bearing Illinois registration DM88970 for a non-

moving violation. Troopers made contact with the driver and identified the driver as Martinez

BRADLEY. Troopers learned there was an outstanding arrest warrant for BRADLEY. Following

the conclusion of the traffic stop, troopers transported BRADLEY to the Champaign County jail.

During a secondary search of BRADLEY's person, officers observed BRADLEY concealing a

pill container containing several white pills. The pills were found to be approximately 32.1

grams of white circular pills stamped RP 10/325. A check through pill identifier showed the

pills represented Acetaminophen and Oxycodone Hydrochloride, a schedule two controlled

substance. It should be noted an additional quantity of these RP 10/325 pills has been recovered

throughout this investigation and lab results have shown the RP 10/325 pills tested positive for

N-Phenyl-N-[1-(2-phenylethyl)-4-piperidinyl]propanamide (Fentanyl), a fentanyl analogue.

                                      MICHAEL GIPSON

         94.   On November 13, 2023, a DEA Undercover Officer completed a controlled

purchase of blue M/30 pills, which later tested positive at a DEA Laboratory for fentanyl, from

Martinez BRADLEY. During the controlled purchase BRADLEY arrived as the passenger in a

silver Chevrolet Malibu bearing Illinois registration DU61074. A check through the Illinois

Department of Transportation showed the vehicle is registered to Michael GIPSON to 1302

Christopher Circle Apt. 4, Urbana, Illinois 61802. GIPSON had previously been identified

during this investigation and is a known member of MTAM. Subsequent to the controlled
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purchase your affiant provided a law enforcement image of GIPSON with identifiers hidden to

the DEA UC. The UC positively identified GIPSON as the male driver in the silver Chevrolet

Malibu bearing Illinois registration DU61074.

       95.    On January 3, 2024, The Champaign County Street Crimes Task Force conducted

a controlled buy with GIPSON. During the investigation, GIPSON sold 8 pink 10mg

Oxycodone pills to a Champaign County Street Crimes Task Force CS.

       96.    On February 1, 2024, intercepted communications revealed that COLEMAN

instructed GIPSON to Apple Pay money to BRADLEY and not to SELLERS and that GIPSON

owes up to 500. Based upon this information, it is believed COLEMAN is instructing GIPSON

that GIPSON must pay money to COLEMAN through BRADLEY for quantities of drugs

GIPSON had previously acquired.

       97.    On February 2, 2024, intercepted communications revealed that COLEMAN

talked about getting “3” from Tray (Trayon Parker) and asked GIPSON to Apple Pay it to him.

The parties reaffirm GIPSON is to Apple Pay COLEMAN and COLEMAN asks if GIPSON got

the 190. GIPSON says it is $88 on there. GIPSON says he already sent it. Based upon this

information, it is believed COLEMAN is instructing GIPSON to pick up a quantity of money

from PARKER and GIPSON is supposed to then send the money to PARKER via an app based

platform.

                          DESHANTE INGRAM (AKA“TADOE”)

       98.    On June 21, 2023, Investigators with the Champaign County Street Crimes Task

(CCSCTF) Force executed a State of Illinois, Champaign County, search warrant on 2003

Cynthia Drive, Apt 208F, Champaign, IL 61821. The warrant was signed by The Honorable

Judge Webber prior to its execution. The warrant was issued for the residence subsequent to a
Case 3:24-mj-07067-MAB
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(CCSCTF) confidential source completing two controlled purchases from a male identified as

Alrahman M. WOODS, who resided at the residence. Subsequent to the execution of the search

warrant a female, identified as Christina ALLEN, was read her Miranda Warning and

subsequently provided information to investigators that a bedroom inside the residence was

associated regularly occupied by INGRAM. Further inside this bedroom investigators located an

empty Glock firearm case. Inside the case was a State of Illinois concealed carry certificate with

the name of Deshante Cortez INGRAM on it. Additionally, inside the bedroom investigators

located approximately $1,000 in United States Currency and approximately 1,443 blue circular

pills stamped M/30, known to often be counterfeit Percocet pills containing fentanyl. These pills

were subsequently submitted to the Illinois State Police laboratory for testing and analysis. The

pills subsequently tested positive for fentanyl with a reported weight of approximately 159.7

grams.

         99.    Through the monitoring of the court authorized interception of wire

communications occurring over the cellular telephone utilized by COLEMAN, more than 30

pertinent calls have been intercepted between COLEMAN and INGRAM.

         100.   On January 30, 2024, investigators monitored intercepted communication

between COLEMAN and fellow MTAM member Dequan FENDERSON. During this

communication COLEMAN instructed FENDERSON to supply INGRAM with a quantity of

“percs”, known throughout this investigation to reference counterfeit Percocet pills containing

fentanyl. During the intercepted communication the following exchange took place:

                x      COLEMAN: N-, nah. You already slid on MU?
                x      FENDERSON: Yeah, I slid on MU. TADOE, TADOE and MU needed
                       one fifty (150).
                x      COLEMAN: One fifty (150)?
                x      FENDERSON: Huh?
                x      COLEMAN: One fifty (150)?
Case 3:24-mj-07067-MAB
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               x       FENDERSON: Yeah. Like, one fifty (150)... of percs.
               x       COLEMAN: Huh?
               x       FENDERSON: A hundred fifty (150) percs.
               x       COLEMAN: Oh, bring you a hundred fifty (150) percs?
               x       FENDERSON: Yeah.

       101.    On January 31, 2024, an intercepted call between COLEMAN and INGRAM

revealed that INGRAM said he is trying to get the light blue percs from LIL CUZ. INGRAM

says people are displeased with the colors on “these bitches.” INGRAM talks about wanting to

swap them out. Based upon this communication it is believed INGRAM is informing

COLEMAN that customers are unhappy with the colors of the counterfeit pills containing

fentanyl.

       102.    On February 1, 2024, intercepted communications revealed that COLEMAN tells

INGRAM that the items look like that because they [percs] are the “real pharmaceuticals.”

INGRAM informs COLEMAN that he (INGRAM) has not moved any of them yet, but will

probably sell 20 or 25 of it. COLEMAN inquires if INGRAM has received complaints about the

percs being weak. INGRAM replied that one his customers said they were not hitting hard.

INGRAM and COLEMAN then continued to talk about the color of the pharmaceutical percs.

       103.    On February 2, 2024, intercepted communications revealed that COLEMAN

directed INGRAM to Cash App him 100. INGRAM complained he will not make a deuce on the

fake percs, which have not been selling. INGRAM informed COLEMAN that he has sold around

25. Based upon this communication it is believed COLEMAN is instructing INGRAM to pay

him for drugs that COLEMAN has already supplied and further that INGRAM is confirming he

has sold around 25 of the counterfeit pills.

       104.    On February 17, 2024, intercepted communications revealed that INGRAM

informed COLEMAN that he (INGRAM) is going to make a couple hits and drop off MU.
Case 3:24-mj-07067-MAB
        2:24-mj-07037-EIL Document
                          *SEALED*1 #Filed
                                     1 Filed:
                                           03/29/24
                                               03/18/24
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                                                                     44 ID #43




INGRAM stated that he will pull up on COLEMAN, who is at BIKE’s crib. Based upon this

communication it is believed INGRAM is relating to COLEMAN that he is going to complete

drug sales “hits” and that he will then go to COLEMAN’s location.

                                         CONCLUSION

       105.    Based on the aforementioned factual information, I respectfully submit that there

is probable cause to believe that KEJUAN COLEMAN, MARTINEZ BRADLEY, CHASE

SELLERS, DEQUAN FENDERSON, ERIC COLE, MICHAEL GIPSON, and DESHANTE

INGRAM have committed the offense of, of Title 21 United States Code, Section 846, Attempt

or Conspiracy to Unlawfully Distribute Controlled Substances. This violation occurred in

Champaign County, Illinois within the Central District of Illinois.

                              REQUEST TO FILE UNDER SEAL

       106.    I further request that this Court seal the warrant and the affidavit and application

in support thereof, except that copies of the warrant in full or redacted form may be maintained

by the United States Attorney’s Office and may be served on Special Agents and other

investigative and law enforcement officers of the Drug Enforcement Administration and other

investigative and law enforcement officers, and other government and contract personnel acting

under the supervision of such investigative or law enforcement officers, as necessary to

effectuate the warrant. These documents pertain to and discuss an ongoing criminal investigation

that is neither public nor known to all the targets of the investigation. Accordingly, there is good

cause to seal these documents because their premature disclosure may seriously jeopardize the

investigation. Sealing these documents will also better ensure the safety of agents and others.
Case 3:24-mj-07067-MAB
        2:24-mj-07037-EIL Document
                          *SEALED*1 #Filed
                                     1 Filed:
                                           03/29/24
                                               03/18/24
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                                                         44 of 44
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                                                                     44 ID #44




       107.    I further state that I have verified and have knowledge of the facts alleged in this

affidavit and that they are true and correct to the best of my knowledge.




                                                   Respectfully submitted,

                                                   MATTHEW NOLAN Digitally signed by MATTHEW NOLAN
                                                                 Date: 2024.03.15 10:26:37 -05'00'

                                                   Matthew T. Nolan
                                                   Special Agent
                                                   Drug Enforcement Administration



                                                 18thDay
       Subscribed and sworn to before me on this ___
       Of March 2024.
                             Digitally signed by Eric Long
      Eric Long              Date: 2024.03.18 15:00:37
       _________________________________________
                             -05'00'
       The Honorable Eric I. Long
       UNITED STATES MAGISTRATE JUDGE
              Case
                 2:24-mj-07037-EIL
                   3:24-mj-07067-MAB
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                                                                                          ID1#45
AO 442 (Rev. 11/11) Arrest Warrant



                                        UNITED STATES DISTRICT COURT
                                                                  for the
                                                        CentralDistrict
                                                  __________    Districtof
                                                                         of__________
                                                                            Illinois

                  United States of America
                             v.                                     )
                                                                    )        Case No.    24-MJ- 7037
                                                                    )
                                                                    )
                                                                    )
                    MARTINEZ BRADLEY
                                                                    )
                            Defendant


                                                        ARREST WARRANT
To:      Any authorized law enforcement officer

         YOU ARE COMMANDED to arrest and bring before a United States magistrate judge without unnecessary delay
(name of person to be arrested)      Martinez Bradley                                                                                    ,
who is accused of an offense or violation based on the following document filed with the court:

u Indictment              u Superseding Indictment         u Information        u Superseding Information             ✔ Complaint
                                                                                                                      u
u Probation Violation Petition              u Supervised Release Violation Petition       u Violation Notice          u Order of the Court

This offense is briefly described as follows:
  There is probable cause to believe that the MTAM (More Than A Movie) Enterprise is a Drug Trafficking Organization
  (DTO) and Violent Street Gang operating throughout the Continental United States to include, Texas, Georgia, and
  Central Illinois to include the cities of Champaign, Urbana, and Rantoul.



                                                                                                        Digitally signed by Eric Long

Date:     3/18/2024                                                 Eric Long                           Date: 2024.03.18 15:00:56
                                                                                                        -05'00'
                                                                                           Issuing officer’s signature

City and state:       Urbana, Illinois                                          Eric I. Long, United States Magistrate Judge
                                                                                             Printed name and title


                                                                  Return

           This warrant was received on (date)                          , and the person was arrested on (date)
at (city and state)                                           .

Date:
                                                                                          Arresting officer’s signature



                                                                                             Printed name and title
